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11/10/2023

Jason Fong



Dear Jason,

I am pleased to inform you that you have been accepted as a bachelor’s degree candidate at Geneva
College. Congratulations and welcome to the Geneva community of learners.

As you select a college or university – a choice with a lasting impact on the rest of your life – I hope
you would choose Geneva College, a Christ-centered academic community rooted in God’s word.
From our commitment to Christ stems a dedication to provide a comprehensive education that equips
you for your life's work and service to God and neighbor. With a heritage of over 170 years, Christian
worldview and reputation for rigorous academic standards, Geneva promises you an education of the
highest quality.

I encourage you to apply for financial aid; it can make college more affordable. Complete your Free
Application for Federal Student Aid (FAFSA) form as soon as it becomes available in December at
studentaid.gov. Make sure to list Geneva College (code 003267) so we receive your information.

To secure your place at Geneva and increase the opportunity for preferred housing and class
selection, accept this offer of admission and submit your enrollment deposit on your application portal.

We look forward to you learning and growing here with us. If you haven’t had the opportunity to tour our
beautiful campus, I encourage you to schedule a visit. Your admissions counselor will be in contact
with you and will help in any way necessary. Please do not hesitate to call 800-847-8255 if you have
any questions.

For future reference, your Geneva College Student ID number is 1586283.

Sincerely,



Dave Layton
Associate Vice President for Undergraduate Enrollment
